Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 1 of 33 Page ID #:1808


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

               Deputy Clerk:                            Court Reporter:
               Rita Sanchez                             Not Reported

               Attorneys Present for Plaintiff:         Attorneys Present for Defendant:
               None Present                             None Present

   Proceedings (In Chambers): ORDER RE: SPECIAL MOTION BY
                              DEFENDANTS THE ATHLETIC MEDIA
                              COMPANY AND MOLLY KNIGHT TO STRIKE
                              PLAINTIFF’S COMPLAINT [20]; MOTION BY
                              DEFENDANTS THE ATHLETIC MEDIA
                              COMPANY AND MOLLY KNIGHT TO DISMISS
                              PLANTIFF’S COMPLAINT [22]

           Before the Court are two motions:

         The first is Defendants The Athletic Media Company (“The Athletic”) and
   Molly Knight’s Special Motion to Strike Plaintiff’s Complaint (the “MTS”), filed on
   May 31, 2022. (Docket No. 20). Plaintiff Trevor Bauer filed an Opposition (the “Opp.
   to MTS”) on July 11, 2022. (Docket No. 28). Defendants filed a Reply (the “Reply to
   MTS”) on August 15, 2022. (Docket No. 31).

         The second is Defendants’ Motion to Dismiss Plaintiff’s Complaint (the
   “MTD”), also filed on May 31, 2022. (Docket No. 22). Plaintiff filed an Opposition
   (the “Opp. to MTD”) on July 11, 2022. (Docket No. 29). Defendants filed a Reply
   (the “Reply to MTD”) on August 15, 2022. (Docket No. 30).

           The Court has read and considered the Motion and held a hearing on August 29,
   2022.

           For the reasons discussed below, the Court rules as follows:

   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              1
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 2 of 33 Page ID #:1809


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
              The MTS is GRANTED in part with leave to amend and DENIED in
               part. Plaintiff has not adequately pled compliance with California’s
               retraction statute, and has not adequately pled special damages. However,
               a reasonable factfinder could conclude that the tweets were impliedly
               asserting an objective fact because of the context, language, and provable
               nature of the tweets.

              The MTD is DENIED as moot as to Claim One and DENIED as to
               Claim Two for the same reasons as the MTS.

         BACKGROUND

         Plaintiff initiated this action on March 29, 2022. (Complaint (Docket No. 1)).

         According to the Complaint, Plaintiff won the Cy Young award, an honor
   awarded to the best pitcher in the National League of Major League Baseball (the
   “MLB”), on November 11, 2020, the same month in which he began free agency, a
   period during which he could be signed by any team in the MLB. (See id. ¶¶ 15–16).

         Shortly thereafter, Plaintiff alleges that The Athletic began a campaign of
   harassment against him, publishing several articles without adequate evidence
   characterizing Plaintiff as a potential detriment to the culture of the baseball team that
   signed him due to his alleged controversial nature. (See id. ¶¶ 16–21).

          Plaintiff states he “signed a record-breaking contract with the Los Angeles
   Dodgers” baseball team, after which Plaintiff alleges The Athletic continued its
   unsubstantiated attacks on him. (Id. ¶¶ 23–25, 32–33). Plaintiff alleges that these
   attacks came in particular from Defendant Knight, who wrote two articles about
   Plaintiff, repeatedly taunted and made false claims about Plaintiff, and speculated that
   Plaintiff harassed women online and possibly offline. (See id. ¶¶ 25–31).

          On June 28, 2021, a complainant (identified elsewhere as “L.H.”) petitioned for
   a restraining order against Plaintiff on the basis of sexual assault. (See id. ¶ 34). The

   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              2
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 3 of 33 Page ID #:1810


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   Athletic subsequently published an article concerning L.H.’s petition; that article,
   attached to the Complaint, forms the basis for one of Plaintiff’s claims. (See id. ¶ 35).

          Central to Plaintiff’s allegations is that although in the petition for a restraining
   order L.H. claimed she had “’signs of a basilar skull fracture,’” the petition also
   attached the actual CT scan results, which conclusively indicated no such fracture
   existed. (Id. ¶¶ 34–38). The Athletic’s article did not refer to the CT scan results,
   which the Complaint alleges gave the false impression that Plaintiff fractured L.H.’s
   skull. (See id. ¶¶ 39–41).

          Plaintiff alleges that Defendant Knight furthered the false impression in The
   Athletic’s article by posting multiple tweets about the allegations, which stated that it
   is not possible to consent to a fractured skull and that consenting to engaging in rough
   sex is not the same as consenting to a cracked skull. (See id. ¶¶ 43–47).

         The Complaint alleges that other news outlets, including Sports Illustrated and
   Fox News, relying on The Athletic’s article, perpetuated the falsity by failing to
   include that L.H. did not actually suffer a skull fracture. (See id. ¶¶ 49–51). Plaintiff
   alleges that while those other news sites corrected their articles once Plaintiff informed
   them there was no evidence of an actual fracture. (See id.).

          Plaintiff alleges that The Athletic knew the implication that Plaintiff fractured
   L.H.’s skull was false, but deliberately ignored the records showing that there was no
   fracture, and that actual malice is shown by the continued campaign of attack on
   Plaintiff’s character. (See id. ¶¶ 52–55). Plaintiff further alleges that he contacted The
   Athletic after publication of the article, explaining that the records attached to the
   petition showed there was no fracture, and the Athletic refused to correct the article; it
   was not until a demand letter was received did the Athletic acknowledge that no
   fracture was found. (See id. ¶¶ 56–58). Plaintiff contends this was still inaccurate
   because there was never an actual diagnosis of a skull fracture, just indications of a
   possible fracture. (See id. ¶ 59).

         Plaintiff also alleges that Defendant Knight acted with actual malice in posting
   her tweets by including mention of a cracked or fractured skull as there was no source
   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              3
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 4 of 33 Page ID #:1811


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   attribution, Defendant Knight ignored L.H.’s declaration, and Defendant Knight had a
   prior history of statements concerning Plaintiff showing malice. (See id. ¶¶ 60–62).
   Plaintiff alleges that while Defendant Knight deleted the tweets after receiving a
   demand letter, she did not post a corrective tweet. (See id. ¶ 65).

         The Complaint alleges that Defendants did not cease attacking Plaintiff after the
   publication of the article and the tweets, including by publishing further articles and
   tweets about the allegations. (See id. ¶¶ 67–72).

          Plaintiff states that a Los Angeles County Superior Court judge ultimately
   denied the petition for a restraining order, finding that L.H. consented to any acts that
   occurred between Plaintiff and L.H., including rough sex, there was no logical basis for
   L.H.’s accusations, and that L.H. intended to damage Plaintiff. (See id. ¶¶ 73–76).
   However, Plaintiff alleges that Defendants continued to incorrectly report the facts,
   failing to report that the Superior Court found no indication of assault or abuse, and
   mischaracterized the findings. (See id. ¶¶ 77–88). On February 8, 2022, the Los
   Angeles District Attorney announced Plaintiff would not be charged with a crime.
   (See id. ¶¶ 89–91).

          The Complaint brings two claims for relief, each for defamation per se: one
   against The Athletic, and one against Defendant Knight. (See id. ¶¶ 92–130). Plaintiff
   prays for relief in the form of compensatory, punitive, and special damages, along with
   attorney’s fees and costs. (See id. at 25).




   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              4
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 5 of 33 Page ID #:1812


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
         DISCUSSION

         A.      Requests for Judicial Notice

          In conjunction with both motions and their respective oppositions, the parties
   request the Court take notice of various documents. Defendants filed what appear to
   be two identical requests for judicial notice, one attached to each of the MTS and
   MTD, and Plaintiff did the same, filing what appear to be two identical requests for
   judicial notice, also each attached to the Opp. to MTS and Opp. to MTD; Defendants
   also filed a supplemental request for judicial notice in conjunction with their Reply to
   MTS. (Docket Nos. 20-2, 22-2, 28-2, 29-2, 31-2 (collectively, “RJNs”)). Plaintiff
   indicates he does not oppose either of Defendants’ requests for judicial notice
   accompanying their opening motions. (See Docket Nos. 28-2 and 29-2 at 1).
   Defendants do not appear to indicate specific objections to Plaintiff’s requests for
   judicial notice.

        In totality, Defendants request the Court take judicial notice of the following
   documents, arguing, inter alia, that each is subject to incorporation by reference:

               The complete thread of Defendant Knight’s tweets, including the three
                alleged to be defamatory by Plaintiff;

               L.H.’s petition for restraining order in Los Angeles Superior Court;

               Articles about Plaintiff published by Defendant The Athletic;

               Other tweets by Defendant Knight;

               Other articles published about Plaintiff by third parties;

               Other articles published about L.H. by third parties; and

               A copy of a hearing transcript in the same matter in which L.H. petitioned
                for a restraining order in Los Angeles Superior Court.
   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              5
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 6 of 33 Page ID #:1813


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
          The Court “may ‘take into account documents whose contents are alleged in a
   complaint and whose authenticity no party questions, but which are not physically
   attached to the [plaintiff’s] pleading.” Walker v. Fred Meyer, Inc., 953 F.3d 1082,
   1085 n.1 (9th Cir. 2020) (quoting Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir.
   2005)). Given Plaintiff’s stated non-opposition, the Court sees no reason why these
   documents are unsuitable for judicial notice.

         Plaintiff requests the Court take judicial notice of the following documents:

               An email from Plaintiff’s representative to a managing editor at The
                Athletic; and

               A letter from Plaintiff’s attorney to the chief content officer and a
                managing editor at The Athletic.

          Plaintiff notes that both of these documents are referenced in the Complaint. For
   that reason, these documents are appropriate for judicial notice. See id.

         Accordingly, the RJNs are GRANTED.

         B.      Motion to Strike

         Defendants move under California Code of Civil Procedure section 425.16(b)(1)
   (California’s “anti-SLAPP” statute) to strike the entirety of the Complaint, arguing
   each of Plaintiff’s claims for relief arises out of Defendants’ exercise of free speech.
   (See MTS at i).

           The anti-SLAPP statute “was enacted to allow early dismissal of meritless first
   amendment cases aimed at chilling expression through costly, time-consuming
   litigation.” Metabolife Int’l v. Wornick, 264 F.3d 832, 839 (9th Cir. 2001) (holding
   that discovery provisions of section 425.16 do not apply in federal court).

          The Court notes, as does Plaintiff, that the applicability of the anti-SLAPP
   statute in federal court has been questioned. See, e.g., Makaeff v. Trump Univ., LLC,
   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              6
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 7 of 33 Page ID #:1814


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   715 F.3d 254, 274 (9th Cir. 2013) (Kozinski, C.J., concurring) (“Federal courts have
   no business applying exotic state procedural rules which, of necessity, disrupt the
   comprehensive scheme embodied in the Federal Rules, our jurisdictional statutes and
   Supreme Court interpretations thereof”). Nonetheless, under recently affirmed existing
   precedent, Defendants are able to bring the MTS. See, e.g., CoreCivic, Inc. v. Candide
   Grp., LLC, --- F.4th ----, 2022 WL3724307, at *4–*6, *8 (9th Cir. Aug. 30, 2022)
   (continued applicability of California anti-SLAPP statute in federal court).

          Motions brought under the anti-SLAPP statute are evaluated in two steps.
   “First, the court decides whether the defendant has made a threshold showing that the
   challenged cause of action is one ‘arising from’ protected activity.” Oasis W. Realty,
   LLC v. Goldman, 51 Cal. 4th 811, 819, 124 Cal. Rptr. 3d 256 (2011) (internal
   quotation marks and citation omitted). “If the court finds such a showing has been
   made, it then must consider whether the plaintiff has demonstrated a probability of
   prevailing on the claim.” Id. “[W]hen an anti-SLAPP motion to strike challenges only
   the legal sufficiency of a claim, a district court should apply the Federal Rule of Civil
   Procedure 12(b)(6) standard and consider whether a claim is properly stated.” Planned
   Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress, 890 F.3d 828, 834 (9th Cir.
   2018), amended by 897 F.3d 1224 (9th Cir. 2018), cert. denied sub nom. Ctr. for Med.
   Progress v. Planned Parenthood Fed’n of Am., 139 S. Ct. 1446 (2019).

           “Only a cause of action that satisfies both prongs of the anti-SLAPP statute—
   i.e., that arises from protected speech or petitioning and lacks even minimal merit—is
   a SLAPP, subject to being stricken under the statute.” Id. (emphasis in original).

                1. Protected activity

          Defendants argue that Plaintiff’s claims are predicated on alleged defamation in
   three tweets and one line in an article. (See MTS at 1). Defendants contend both the
   article and tweets were statements made concerning matters of public interest and in
   public fora, with the article reporting news and the tweets consisting of pure speech.
   (See id. at 8–10).


   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              7
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 8 of 33 Page ID #:1815


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
          The critical question in determining whether the “arising from” protected
   activity requirement is met “is whether the plaintiff’s cause of action itself was based
   on an act in furtherance of the defendant’s right of petition or free speech.” City of
   Cotati v. Cashman, 29 Cal. 4th 69, 78, 124 Cal. Rptr. 2d 519 (2002) (emphasis in
   original). The Court therefore looks to the “principal thrust or gravamen of the
   plaintiff’s cause of action [to] determine[] whether the anti-SLAPP statute applies.”
   Freeman v. Schack, 154 Cal. App. 4th 719, 727, 64 Cal. Rptr. 3d 867 (2007) (emphasis
   in original).

          “A plaintiff cannot frustrate the purposes of the SLAPP statute through a
   pleading tactic of combining allegations of protected and nonprotected activity under
   the label of one ‘cause of action.’” Wang v. Wal-Mart Real Estate Bus. Trust, 153 Cal.
   App. 4th 790, 801–02, 63 Cal. Rptr. 3d 575 (2007) (citations omitted). On the other
   hand, “[i]f the mention of protected activity is only incidental to a cause of action
   based essentially on nonprotected activity, then the Anti-SLAPP statute does not
   apply.” Baharian-Mehr v. Smith, 189 Cal. App. 4th 265, 272, 117 Cal. Rptr. 3d 153
   (2010) (internal quotation marks omitted).

          As alluded to above, Defendants argue that Plaintiff’s claims arise out of
   protected activities: an article published by Defendant The Athletic as well as three
   tweets authored by Defendant Knight.

                      a. Article

          Plaintiff’s allegations largely center around a line in The Athletic’s article that
   states: “In the woman’s declaration, signed under penalty of perjury of California state
   laws, she said that her medical notes state that she had ‘significant head and facial
   trauma’ and that there were signs of basilar skull fracture.” (Palacios Decl. Ex. A at 9;
   see also Complaint ¶ 36 (quoting same line)). Plaintiff alleges this line implied that
   Plaintiff fractured L.H.’s skull by not mentioning the results of the CT scans, which
   The Athletic notes in the article were in its possession and stated no fracture was
   found. (See Complaint ¶¶ 35–41).


   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              8
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 9 of 33 Page ID #:1816


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
          Retraction: As an initial matter, Defendants contend that Plaintiff’s claim based
   on The Athletic article is barred by California’s retraction statute, California Civil
   Code section 48a(a), which requires a plaintiff demand a correction from a news
   organization prior to filing suit by serving the publisher, at the place of publication,
   written notice identifying the at-issue statements and demanding their correction within
   twenty days. (See MTS at 10). Defendants argue the Complaint fails to do this, as it
   does not contain adequate details as to the method of contact, with whom contact was
   made, or what was demanded, and further that the article was subsequently updated.
   (See id. at 11). Defendants also argue that Plaintiff failed to adequately plead special
   damages. (See id. at 11–12).

          Plaintiff disputes that the retraction demand was inadequately pled, arguing that
   the Complaint contains all the information required by the California statute and that
   Defendants attempt to read into the statute a strict textual interpretation that is
   unsupported by law. (See Opp. to MTS at 10–11). Plaintiff also argues that it is
   unnecessary to allege special damages when claims for defamation per se are brought.
   (See id. at 12).

          In the Reply to MTS, Defendants again contend that Plaintiff failed to “specify
   whether he made contact in writing, whether he contacted the publisher, or whether he
   actually requested a correction.” (Reply to MTS at 3–4). Defendants further argue
   that Plaintiff should not be permitted to offer extrinsic evidence, such as a declaration,
   or use the briefing to modify his pleadings, and further that there is no basis to grant
   leave to amend because Bauer cannot amend the contents of the letters themselves,
   which are insufficient. (See id. at 4–5). Defendants lastly argue that the retraction
   statute applies to claims for defamation per se, including the limitations to damages,
   and thus Plaintiff concedes he has not adequately pleaded special damages. (See id. at
   6).

          California Civil Code section 48a(a) requires that, in order for general damages
   to be available, a plaintiff must “serve upon the publisher, at the place of publication . .
   . a written notice specifying the statements claimed to be libelous and demanding the


   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              9
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 10 of 33 Page ID #:1817


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   same be corrected” within twenty days of learning of the publication. Cal. Civ. Code §
   48a(a).

         The letter Plaintiff sent to The Athletic was addressed to Paul Fichtenbaum,
   Chief Content Officer, and Emma Span, Managing Editor (MLB). (See Brown Decl.
   (Docket No. 28-1), Ex. B). The letter identifies the article at issue, was sent within the
   twenty-day period, and demands correction. (See id.). As acknowledged at the
   hearing, the threshold issue in determining whether the letter complied with section
   48a(a) is therefore whether either of the recipients was in fact “the publisher.”

          Defendants provide authority to support their assertion that neither recipient was
   “the publisher” in the Reply to MTS, additionally arguing that the Complaint does not
   attach the letter or adequately describe its contents. (See Reply to MTS at 3–4).

          In Leeb v. Delong, the California appellate court stated that “California’s libel
   retraction statute requires service on the publisher; service on the editor, although he is
   the publisher’s agent, is simply not effective.” 198 Cal. App. 3d 47, 52 n.2, 243 Cal.
   Rptr. 494 (1988) (citing, inter alia, Cal. Civ. Code § 48a). Additionally, in Shahid
   Buttar for Congress Committee v. Hearts Communications, Inc., the district court
   noted that “[t]he Complaint fail[ed] to identify any direct communication between
   Buttar and Defendant Hearst, the publisher,” as well as that the sole identified
   communication that could have potentially satisfied the requirement of section 48a(a)
   “was sent directly to a reporter (not the publisher, as required by [section] 48a).” CV
   21-5566-EMC, 2022 WL 1215307, at *11 (N.D. Cal. April 25, 2022).

          Based on Leeb, sending the letter to Emma Span, as a Managing Editor, did not
   comply with the requirements of section 48a(a). See 198 Cal. App. 3d at 52 n.2. It
   also appears unlikely that Paul Fichtenbaum, as Chief Content Officer, was the
   appropriate addressee, given that section 48a requires the “publisher” and there is no
   indication Fichtenbaum is indeed the publisher. See Buttar, 2022 WL 1215307, at *11.

        Plaintiff does not address specifically whether either individual should be
   deemed to be the “publisher” under section 48a(a), instead arguing that the section

   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              10
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 11 of 33 Page ID #:1818


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   48a(a) is not to be interpreted so literally. (See Opp. to MTS at 11 (citing Kapellas v.
   Kofman, 1 Cal. 3d 20, 30–31, 81 Cal. Rptr. 360 (1969)).

          In Kapellas, the California Supreme Court wrote that “[t]he purpose for the
   requirement for the described specificity is to facilitate the publisher’s investigative
   efforts in determining whether statements in the initial article contained error and
   should be corrected.” 1 Cal. 3d at 30–31. The California Supreme Court continued by
   stating that “[t]he crucial issue in evaluating the adequacy of the notice turns on
   whether the publisher should reasonably have comprehended which statements
   plaintiff protested and wished corrected.” Id. at 31. However, the plaintiff in Kapellas
   sent two letters directly to an individual identified as the publisher of the newspapers at
   issue. See id. at 26–27. Accordingly, the analysis in Kapellas does not consider the
   question of whom is considered a publisher for the purposes of section 48a(a), as the
   issue was of if the letters gave the publisher adequate notice of what statements the
   plaintiff wanted retracted. See id. at 31–34.

          The only case the Court could find that addressed the issue is Freedom
   Newspapers, Inc. v. Superior Court, 4 Cal. 4th 652, 14 Cal. Rptr. 2d, 839 (1992).
   There, the California Supreme Court noted that it had previously “stated that the term
   ‘publisher,’ as used in section 48a[(a)], ‘clearly refers to the owner or operator of the
   newspaper . . ., rather than the originator of the defamatory statements.’” Id. at 656
   (quoting Field Research Corp. v. Superior Ct., 71 Cal. 2d 110, 114, 77 Cal. Rptr. 243
   (1969)) (omission in original). That interpretation was because “‘[i]t is only the
   publisher . . . who has the power effectively to correct or retract.’” Id. (quoting same at
   115). The California Supreme Court continued by explaining that “the Legislature did
   not employ the term ‘publisher’ in th[e] technical, legal sense, but rather according to
   its common meaning: the owner or operator of a newspaper,” and reasoning that while
   “service of the required notice on the editor of a newspaper would go far toward
   accomplishing the purpose designed to be served by section 48a[(a)],” section 48a(a)
   “specifies that the notice is to be served upon the ‘publisher’ of the newspaper.” Id. at
   656–657. (citing same).



   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              11
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 12 of 33 Page ID #:1819


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
         However, this interpretation notwithstanding, the California Supreme Court also
   wrote that section 48a was “not intended to impose a technical barrier to recovery
   when the purposes designed to be served by section 48a are satisfied.” Id. at 658.
   Freedom Newspapers therefore held

         that the requirements of section 48a[(a)] are satisfied when the
         demand for correction is (1) served upon the publisher, (2) served
         upon a person designated by the publisher to receive such notices, or
         (3) served upon someone employed at the newspaper other than the
         publisher or the publisher’s designee and the publisher acquires
         actual knowledge of the request for correction within the time limit
         set forth in the statute. Such a rule is consistent with both the
         language of the statute and the policy it was designed to serve.

   Id. (footnotes omitted) (emphasis in original).

          Under Freedom Newspapers, it is possible that at least one of the individuals to
   whom Plaintiff’s demand letter was sent could qualify under section 48a(a). However,
   in Freedom Newspapers, although the plaintiff sent the retraction letter to the editor of
   the publication, the plaintiff specifically alleged that the letter “‘was known to the
   publisher of the newspaper at or about the time it was written . . .’ and the publisher
   had delegated to the editor the authority to respond to the notice.” Id. at 657. The
   California Supreme Court therefore found “that these allegations, if proved, are
   sufficient to establish that the notice was served upon the publisher within the meaning
   of section 48[(a)].” Id.

           At the hearing, Plaintiff argued that the Complaint adequately alleges adequate
   knowledge as required by Freedom Newspapers, as Plaintiff sent both an email and
   letter to the Chief Content Officer and Managing Editor, who responded, indicating
   that The Athletic necessarily had notice. Plaintiff also argued that The Athletic made
   no showing as to whom the letter should have been sent to properly serve on the
   publisher. The Athletic responded that nothing prevented Plaintiff from sending the
   letter to the publisher, and there was no evidence The Athletic had actual knowledge.

   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              12
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 13 of 33 Page ID #:1820


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
         Considering the relevant authority and the interpretation of California law by
   California courts, the Court must conclude that Plaintiff, at this stage, has not
   adequately alleged that the demand letter was sent to the publisher, as required by
   section 48a(a). The letter was sent to a Managing Editor and a Chief Content Officer,
   and the Complaint nowhere alleges that these individuals were either designated by the
   publisher to receive notices or that the publisher acquired actual knowledge of the
   demand letter. See id. at 658.

          Additionally, Plaintiff provided no authority to support that the burden is on The
   Athletic to identify the appropriate method for serving the publisher, and did not justify
   that the burden should be on The Athletic by indicating that, for example, Plaintiff had
   sought to identify the method to serve the publisher and was unable to do so. Plaintiff
   further does not allege that the Managing Editor had the authority to respond on behalf
   of the publisher. Cf. id. at 657.

         Under section 48a(a), Plaintiff is therefore only able to seek special damages,
   which are defined in section 48a(d)(2) as

         all damages that plaintiff alleges and proves that he or she has
         suffered in respect to his or her property, business, trade, profession,
         or occupation, including the amounts of money the plaintiff alleges
         and proves he or she has expended as a result of the alleged libel, and
         no other.

   Cal. Civ. Code § 48a(d)(2).

          Defendants contend that the Complaint fails to allege special damages. (See
   MTS at 11–12, Reply to MTS at 5). Plaintiff argues that he is not required to state
   special damages under defamation per se. (See Opp. to MTS at 12). However, it does
   not appear that Plaintiff’s cited authority addresses defamation per se or the restriction
   of damages under section 48a(a). See Albertini v. Schaefer, 97 Cal. App. 3d 822, 159
   Cal. Rptr. 98 (1979). Further, in Anschutz Entertainment Group, Inc. v. Snepp, the
   plaintiffs alleged that statements were defamatory per se. See 171 Cal. App. 4th 578,
   604, 90 Cal. Rptr. 3d 133 (2009). The California Court of Appeal still found that
   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              13
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 14 of 33 Page ID #:1821


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   section 48a(a) limited the group to special damages due to their failure to serve a
   “legally effective” retraction demand, and further held that “[s]pecial damages must be
   specially plead in a defamation case.” Id. at 643 (citations omitted).

          The Complaint therefore fails to adequately plead special damages, which
   Plaintiff appears to acknowledge, as it only alleges that the defamatory statements
   “severely damaged [Plaintiff]’s reputation, and caused him anguish, humiliation,
   embarrassment, and financial loss.” (Complaint ¶ 110).

          Because Plaintiff has not alleged he complied with California Civil Code section
   48a(a), he is limited only to special damages, which he has not adequately pled. These
   are grounds upon which to grant the MTS as to Plaintiff’s claim based on the article in
   The Athletic. See Anschutz, 171 Cal. App. 4th at 643 (“The motion to strike the
   second complaint . . . should have been granted” due to failure to serve demand letter
   under section 48a(a) and to adequately plead or prove special damages).

                               i.   Leave to Amend

          Leave to amend is generally proper where an anti-SLAPP motion is granted.
   See Sanchez v. Am. Media, Inc., CV 20-2924-DMG (PVCx), 2020 WL 8816343, at *4
   (C.D. Cal. Dec. 29, 2020) (citing Verizon Del., Inc. v. Covad Commc’ns, 377 F.3d
   1081, 1091 (9th Cir. 2004), Maloney v. T3Media, Inc., 94 F. Supp. 3d 1128, 1140
   (C.D. Cal. 2015), aff’d 853 F.3d 1004 (9th Cir. 2017) (“[I]t is generally error to grant a
   defendant’s anti-SLAPP motion to strike a plaintiff’s initial complaint without granting
   the plaintiff leave to amend”)).

          At the hearing, The Athletic argued that leave to amend would be futile because
   Plaintiff could not plead around his failure to plead actual malice or that the article was
   substantially true. While Rule 15 requires that leave to amend “be freely given when
   justice so requires,” Fed. R. Civ. P. 15(a)(2), it “is properly denied . . . if amendment
   would be futile.” Carrico v. City & Cnty. of San Francisco, 656 F.3d 1002, 1008 (9th
   Cir. 2011).


   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              14
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 15 of 33 Page ID #:1822


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
                                    Actual malice

          Defendants argue in their papers that Plaintiff has failed to adequately allege
   actual malice, as Plaintiff has not shown by clear and convincing evidence that The
   Athletic and writers of the article intended to imply that L.H.’s skull was fractured or
   knew if her skull was fractured and that Plaintiff cannot rely on other articles as
   probative of intent because they were not written by the same journalists and general ill
   will is insufficient to show actual malice. (See MTS at 18–19). Defendants also argue
   that the article included L.H.’s final diagnosis, showing that the medical records in the
   petition were not ignored, that the medical records are inconclusive as to a fracture,
   and The Athletic’s alleged failure to promptly correct cannot be evidence of actual
   malice. (See id. at 20).

          With respect to the conclusiveness of the records of L.H.’s injuries, Defendants
   argue that documents in L.H.’s petition raise a factual dispute as to whether or not
   there was a fracture of L.H.’s skull, as documentation from a later medical
   appointment indicate that a doctor had doubts as to the accuracy of the CT scans and
   ordered an MRI to determine if the CT scan had missed a fracture. (See id. at 13
   (citing Palacios Decl. Ex. E at 94 (“Suspected residual healing contusion but will r/o
   undetected Fx on CT,” with “r/o” noted by the briefing to mean “rule out”)).

          Plaintiff argues that at the pleading stage, he need only show a probability of
   making a showing of actual malice by clear and convincing evidence, which he does
   because the writers of the article had the petition which stated that L.H.’s skull was not
   fractured but still implied that her skull was fractured, and that he may rely on
   circumstantial evidence such as other articles. (See Opp. to MTS at 18–19).

          Defendants’ Reply emphasizes the arguments that the medical records were
   inconclusive at best and therefore there was no “hard evidence” for the journalists to
   consider and that the circumstantial evidence cannot be used to prove actual malice
   because none was authored by the writers of the article and ill will cannot show actual
   malice. (See Reply to MTS at 14). Defendants further argue that Plaintiff cannot show
   both that the authors of the article knew Plaintiff did not fracture L.H.’s skull, based on

   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              15
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 16 of 33 Page ID #:1823


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   their argument that the records are inconclusive, and that they also intended the
   implication that he caused a fracture, as none of his allegations so plead. (See id. at
   15).

          As the parties recognize, in order to succeed, Plaintiff “will eventually need to
   present clear and convincing evidence that [The Athletic’s] article contained a
   defamatory implication and that [The Athletic] acted with ‘actual malice.’” Manzari v.
   Assoc. Newspapers Ltd., 830 F.3d 881, 889 (9th Cir. 2016) (citing Kaelin v. Globe
   Comm. Corp., 162 F.3d 1036, 1039 (9th Cir. 1998)). “However, at the anti-SLAPP
   stage, ‘[a] public figure who sues for defamation must establish a probability that he or
   she can produce such clear and convincing evidence.’” Id. (quoting Overstock.com,
   Inc. v. Gradient Analytics, Inc., 151 Cal. App. 4th 688, 700, 61 Cal. Rptr. 3d 29
   (2007)) (emphasis and modification in original).

          To show actual malice “in implied defamation cases, ‘where a statement . . .
   reasonably implies false and defamatory facts regarding public figures or officials,
   those individuals must show that such statements were made with knowledge of their
   false implications or with reckless disregard of their truth.” Id. at 891 (quoting
   Milkovich v. Lorain J. Co., 497 U.S. 1, 20 (1990)) (omission in original). Recklessness
   requires that there “‘be sufficient evidence to permit the conclusion that the defendant
   in fact entertained serious doubts as to the truth of his publication.’” Id. (quoting Time,
   Inc. v. Pape, 401 U.S. 279, 291–92 (1971). The Ninth Circuit explained that “[t]his
   standard ensures that publishers are not held liable for unintentional misstatements or
   implications, which public figures later claim are defamatory.” Id. (citing Howard v.
   Antilla, 294 F.3d 244, 252 (1st Cir. 2002)).

          Assuming solely for the purposes of argument, and without deciding, that the
   article allegedly implies that Plaintiff fractured L.H.’s skull, Plaintiff has not
   established a probability that he can produce clear and convincing evidence of The
   Athletic’s actual malice. See Manzari, 830 F.3d at 889. First, the Complaint does not
   specifically allege that the authors of the article actually knew that any implications
   were false, instead implying knowledge of falsity by alleging that the authors “knew
   there were CT scans showing whether [L.H.] had a skull fracture” and “deliberately
   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              16
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 17 of 33 Page ID #:1824


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   ignored those medical records to perpetuate the false message that [Plaintiff] fractured
   [L.H.]’s skull.” (Complaint ¶¶ 52–53).

          This implication, whether it be as to actual knowledge or putative recklessness
   as to the truth, is controverted by the medical records themselves. Plaintiff notes that
   L.H.’s medical records state that the May 17, 2021 results of her CT scan concluded
   “Bones/joints: Unremarkable. No acute fracture,” but, as Defendants point out, a later
   evaluation of June 3, 2021, also included in the petition, indicated a doctor’s doubts as
   to the conclusion of the CT scans, resulting in an order of an MRI to rule out the
   possibility of an “undetected” fracture. (Palacios Decl. Ex. E at 73, 93–94). It is not
   clear how, given this factual uncertainty raised by L.H.’s petition, Plaintiff will be able
   to show by clear and convincing evidence that The Athletic and the writers of the
   article either knew of any falsity or “in fact entertained serious doubts as to the truth of
   [the] publication.” Manzari, 830 F.3d at 891 (quoting Time, 401 U.S. at 291–92). This
   is compounded the article’s specific recounting and relaying of the allegations in
   L.H.’s petition, stating that “[i]n [L.H.]’s declaration . . . she stated that her medical
   notes state that . . . there were signs of basilar skull fracture.” (Palacios Decl. Ex. A at
   9).

          It is also not clear the alleged ill will demonstrated by other The Athletic articles
   can be attributed to the writers of this specific article. See Resolute Forest Prods., Inc.
   v. Greenpeace Int’l, 302 F. Supp. 3d 1005, 1018 (N.D. Cal. 2017) (actual malice must
   be alleged as to the person in the organization responsible for writing the statement).

          The Court therefore cannot conclude that Plaintiff has adequately pled actual
   malice, either via The Athletic and the writers of the article knowing that there were
   false implications from the statement that “[i]n [L.H.]’s declaration . . . she stated that
   her medical notes state that . . . there were signs of basilar skull fracture” or via their
   reckless disregard as to the truth of any implications from that statement. (Palacios
   Decl. Ex. E at 9).

          It is a closer question of whether or not Plaintiff could amend his Complaint so
   as to adequately allege actual malice. Although the Court has some doubts, the Court

   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              17
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 18 of 33 Page ID #:1825


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   cannot include that such amendment be impossible, and therefore this is not a basis
   upon which to deny leave to amend.

                                    Substantial truth

         As noted above, at the hearing, Defendants argued that leave to amend should be
   denied because the article was substantially true, in that the CT scans found no fracture
   of L.H.’s skull does not change that the entire article was substantially true.

          In the MTS, Defendants argue they are not required to prove the truth of every
   word of their article and that the assertion of the skull fracture would have had no
   effect on the overall accuracy of the article or the impression of Plaintiff. (See MTS at
   16–17). Defendants further argue that Plaintiff admitting to the conduct as a whole
   indicate that any allegations of a fracture would not materially change the general
   thrust of the allegations. (See id. at 17–18).

         Plaintiff argues that he denied all allegations of physical injury, that the article
   accused him of a serious crime, and that had the article not so accused Plaintiff, an
   average reader would plausibly have had a different impression of Plaintiff. (See Opp.
   to MTS at 16–18).

          Defendants’ Reply to MTS argues that even if the implication is true, it does not
   implicate Plaintiff in a crime different or more serious from those alleged by L.H., and
   as the petition implicates several crimes already, one additional would not have had a
   significant difference. (See Reply to MTS at 13–14).

          As the parties appear to agree, the law “overlooks minor inaccuracies and
   concentrates upon substantial truth,” wherein a “statement is not considered false
   unless it ‘would have a different effect on the mind of the reader from that which the
   pleaded truth would have produced.’” Masson v. New Yorker Mag., 501 U.S. 496,
   516–17 (1991) (quoting R. Sack, Libel, Slander, and Related Problems 130 (1980)). In
   other words, what matters is “‘the substance, the gist, the sting, of the libelous charge
   to be justified.’” Id. at 517 (quoting Heuer v. Kee, 15 Cal. App. 2d 710, 714, 59 P.2d
   1063 (1936)).
   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              18
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 19 of 33 Page ID #:1826


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
           The Court cannot conclude that any implication, if it does exist, substantially
   altered the overall impression given by the article. The article summarizes the
   allegations set forth in L.H.’s petition. (See Palacios Decl. Ex. A at 9). As stated
   above, the article reports on L.H.’s allegations, and includes the statement that “[i]n
   [L.H.]’s declaration . . . she stated that her medical notes state that . . . there were signs
   of basilar skull fracture.” (Id.). Even were the article in the first instance to have
   included that the CT scans subsequently found no fracture, it does not change the
   “gist” of the article concerning the allegations contained in L.H.’s petition – and the
   language of the article makes apparent it is detailing what L.H. filed in her petition.
   (See id. (“According to the woman’s declaration . . .” and “In the woman’s declaration,
   signed under penalty of perjury of California state laws, she said that her medical notes
   state . . .”).

           Plaintiff’s arguments to the contrary are unavailing. First, the state court judge’s
   ruling on the petition did not occur until several months after the article was published,
   and there is no indication that the article’s reporting of the initial petition filed by L.H.
   was somehow misleading about the subsequent full hearing held before a judge.
   Secondly, it is unclear how Defendant Knight’s tweets are relevant, given that the
   initial tweet in the thread to which Defendant Knight replied included a news article
   written by a different media outlet. Even so, the argument does not explain how the
   article’s reporting of the allegations, which is hedged by making clear reliance on the
   petition itself, altered the overall impression of the article.

          Accordingly, there is no indication the article was not substantially true.
   However, the Court also cannot conclude that there is no possible set of facts Plaintiff
   can allege sufficient to state a claim. See Missouri ex rel. Koster v. Harris, 847 F.3d
   646, 656 (9th Cir. 2017). Further, “in light of the Ninth Circuit’s holding that a
   Plaintiff in federal court be granted leave to amend their initial complaint before it is
   dismissed with prejudice under a state law anti-SLAPP statute,” the Court must find
   that Plaintiff is entitled to one opportunity to amend his Complaint. Buttar, 2022 WL
   1215307, at *12 (citing Verizon, 377 F.3d at 1091).



   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              19
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 20 of 33 Page ID #:1827


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
         The MTS is therefore GRANTED with leave to amend as to Plaintiff’s first
   claim for defamation per se.

                      b. Tweets

           Defendants additionally seek to strike Plaintiff’s second claim for defamation
   per se based on the tweets by Defendant Knight. Defendants contend these tweets
   were protected activity because social media constitutes a public forum, the tweets
   were pure speech, and the speech concerned a matter of public interest. (See MTS at
   9–10). Plaintiff does not appear to directly dispute this assertion, primarily contesting
   that he fails to demonstrate a likelihood of prevailing on his claim. (See Opp. to MTS
   at 20).

          There does not appear to be a reason to disagree that the tweets are protected
   activity. Accordingly, the question becomes whether Plaintiff has shown a probability
   of prevailing.

                2. Probability of prevailing

          Plaintiff must show a probability of prevailing on his claims for relief. The
   Court looks to whether the claims are legally sufficient and are supported by a prima
   facie showing of facts to support a judgment in Defendants’ favor if its evidence is
   credited. See Hilton v. Hallmark Cards, 599 F.3d 894, 902 (9th Cir. 2010) (second
   stage of Anti-SLAPP analysis is “similar to the one courts make on summary
   judgment, though not identical”).

          In determining whether Plaintiff has demonstrated his claims are “both legally
   sufficient and supported by a sufficient prima facie showing of facts to sustain a
   favorable judgment if the evidence submitted by the plaintiff is credited,” the Court
   must consider “the pleadings and evidentiary submissions of both the plaintiff and the
   defendant.” Wilson v. Parker, Covert & Chidester, 28 Cal. 4th 811, 821, 123 Cal.
   Rptr. 2d 19 (2002) (internal citations omitted). “[Al]though the court does not weigh
   the credibility or comparative strength of competing evidence, it should grant the
   motion if, as a matter of law, the [nonmoving party’s] evidence supporting the motion
   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              20
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 21 of 33 Page ID #:1828


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   defeats the [moving party’s] attempt to establish evidentiary support for the claim.” Id.
   (emphasis in original).

         The tweets at issue are attached to the Complaint and as follows:




         (Complaint Ex. B at 1).




         (Complaint Ex. C at 1).
   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              21
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 22 of 33 Page ID #:1829


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight




         (Complaint Ex. D at 1).

          Defendants argue that the tweets sent by Defendant Knight do not assert
   objective facts as set forth by relevant case law, which directs consideration of both the
   broad and specific contexts of the statement as well as whether the statement could be
   proved to be true or false. (See MTS at 20–21 (citations omitted)). Defendants argue
   all these factors indicate the tweets are non-actionable speech.

          First, Defendants argue the broad contexts of the tweets indicates they are non-
   actionable, given readers expect strong opinion over objective fact on the Twitter
   platform, the tweets were part of an ongoing public debate, making them further likely
   to be understood as opinion, and other tweets sent by Defendant Knight support that
   she is expressing opinion. (See id. at 21–23).

          Next, Defendants contend the specific context of the tweets demonstrates that
   they are non-actionable opinions, as they were short and quick statements part of a
   rapid discussion with another Twitter user and in the context of responding to a news
   article concerning the underlying L.H. petition. (See id. at 23).



   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              22
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 23 of 33 Page ID #:1830


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
         Defendants also argue that the tweets cannot be shown to be true or false given
   they concern “what constitutes ‘consent’” and the tweets do not imply facts but only
   debate the concept of what conduct can be consented to. (Id. at 23–24).

          Finally, Defendants argue that Plaintiff cannot show that the implications
   Plaintiff pleads were false as a matter of law, and that Plaintiff has not adequately pled
   actual malice because neither an improper motive nor possession of specific
   knowledge are sufficient to allege the requisite state of mind. (See id. at 24–25).

          Plaintiff disputes that the tweets were purely opinion. (See Opp. to MTS at 20).
   Plaintiff contends Twitter is also a forum where facts are increasingly found, and as
   such tweets cannot be categorically painted as solely opinion, and further that opinions
   can form the basis for defamation if there are underlying assertions of facts. (See id. at
   21–23).

          Plaintiff further argues that the specific context of the tweets supports the
   implication of fact that Plaintiff fractured L.H.’s skull, and that the tweets replying to
   another user were to correct fact, not discuss opinion. (See id. at 23–24). Plaintiff also
   disputes that the tweets cannot be proven true or false, that Defendants simultaneously
   argue that the tweets cannot be proven true or false and then argue that the tweets are
   in fact true, and that Plaintiff has adequately pled malice as Defendant Knight knew the
   claims were false or recklessly disregarded that the claims were false, or at minimum
   that Defendant Knight was motivated by her personal animus against Plaintiff
   sufficient to infer malice. (See id. at 24–25).

          In their Reply to MTS, Defendants contend Plaintiff the tweets were opinion, but
   that they assert that Plaintiff caused L.H.’s injury. (See Reply to MTS at 16).
   Defendants argue the tweets were posted to rebut the assertion of a Twitter user who
   argued that consent can be given to certain forms of physical contact. Defendant
   Knight’s position is that she responded about the limits of consent to certain conduct,
   but did not claim specific knowledge of the underlying allegations. (See id. at 16–17).
   Defendants further argue that the tweets were simply debating the legal meaning of
   consent, not establishing facts, that courts have considered the language used to

   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              23
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 24 of 33 Page ID #:1831


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   determine whether facts are being asserted, and that all relevant facts were public and
   widely reported. (See id. at 17–18).

          Defendants also reassert that Defendant Knight’s tweets were an unprovable
   opinion that one cannot consent to having her skull broken as well as agreeing that
   while Twitter is not exclusively full of opinions, it does not mean the context of the
   statements being published on Twitter should be disregarded. (See id. at 18–20).
   Defendants conclude by arguing that even were it the case that the tweets imply some
   fact, Plaintiff cannot show that the implications are not substantially true, and that
   Plaintiff has failed to plead actual malice. (See id. at 20–22).

          As an initial matter, the Court notes that the MTS appears to largely challenge
   the legal sufficiency of the claim, as further evidenced by the similarity of the
   arguments as between the MTS and the MTD. (Compare MTS at 20–25 with MTD at
   20–25). Accordingly, the Court analyzes the arguments under the standard of a motion
   to dismiss. See CoreCivic, 2022 WL 3724307, at *7 (applying 12(b)(6) standard to
   anti-SLAPP) (citing Planned Parenthood, 890 F.3d at 834).

          In ruling a motion to dismiss under Rule 12(b)(6), the Court follows Bell
   Atlantic v. Twombly, 550 U.S. 544 (2007), Ashcroft v. Iqbal, 556 U.S. 662 (2009), and
   their Ninth Circuit progeny.

          “Dismissal under Rule 12(b)(6) is proper when the complaint either (1) lacks a
   cognizable legal theory or (2) fails to allege sufficient facts to support a cognizable
   legal theory.” Somers v. Apple, Inc., 729 F.3d 953, 959 (9th Cir. 2013). “To survive a
   motion to dismiss, a complaint must contain sufficient factual matter . . . to ‘state a
   claim for relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting
   Twombly, 550 U.S. at 570). The Court must disregard allegations that are legal
   conclusions, even when disguised as facts. See id. at 681 (“It is the conclusory nature
   of respondent’s allegations, rather than their extravagantly fanciful nature, that
   disentitles them to the presumption of truth.”); Eclectic Props. E., LLC v. Marcus &
   Millichap Co., 751 F.3d 990, 996 (9th Cir. 2014). “Although ‘a well-pleaded
   complaint may proceed even if it strikes a savvy judge that actual proof is improbable,’

   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              24
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 25 of 33 Page ID #:1832


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   plaintiffs must include sufficient ‘factual enhancement’ to cross ‘the line between
   possibility and plausibility.’” Eclectic Props., 751 F.3d at 995 (quoting Twombly, 550
   U.S. at 556–57) (internal citations omitted).

          The Court must then determine whether, based on the allegations that remain
   and all reasonable inferences that may be drawn therefrom, the complaint alleges a
   plausible claim for relief. See Iqbal, 556 U.S. at 679; Cafasso, U.S. ex rel. v. Gen.
   Dynamics C4 Sys., Inc., 637 F.3d 1047, 1054 (9th Cir. 2011). “Determining whether a
   complaint states a plausible claim for relief is ‘a context-specific task that requires the
   reviewing court to draw on its judicial experience and common sense.’” Ebner v.
   Fresh, Inc., 838 F.3d 958, 963 (9th Cir. 2016) (quoting Iqbal, 556 U.S. at 679).

          In a defamation claim, “the challenged speech must be a statement of fact,” and
   therefore “the threshold question in every defamation suit is ‘whether a reasonable
   factfinder could conclude that the [contested] statement implies an assertion of
   objective fact.’” Herring Networks, Inc. v. Maddow, 8 F.4th 1148, 1157 (9th Cir.
   2021) (quoting Unelko Corp. v. Rooney, 912 F.2d 1049, 1053 (9th Cir. 1990))
   (modification in original). If no assertion of fact is implied, the claim is prohibited
   under the First Amendment. See id. (citing Gardner v. Martino, 563 F.3d 981, 987
   (9th Cir. 2009)).

         The Ninth Circuit looks at the totality of the circumstances to determine this
   inquiry, after employing

         a three-factor test in resolving this question: “(1) whether the general
         tenor of the entire work negates the impression that the defendant
         was asserting an objective fact, (2) whether the defendant used
         figurative or hyperbolic language that negates that impression, and
         (3) whether the statement in question is susceptible of being proved
         true or false.”

   Id. (quoting Partington v. Bugliosi, 56 F.3d 1147, 1153 (9th Cir. 1995)).


   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              25
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 26 of 33 Page ID #:1833


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
          Any defamation about which Plaintiff complains is implied, not express – the
   tweets do not directly say, for example, “Plaintiff fractured L.H.’s skull,” or “L.H.
   could not consent to the fact that Plaintiff fractured her skull,” in contrast to other cases
   in this area of law where the defamation is rather explicit. See, e.g., id. at 1153 (“crux
   of Herring’s case” was comment that “OAN ‘really literally is paid Russian
   propaganda’”).

          “California law recognizes that a defamatory statement can either be ‘expressly
   stated or implied.’” Manzari, 830 F.3d at 889 (quoting Forsher v. Bugliosi, 26 Cal. 3d
   792, 803, 163 Cal. Rptr. 628 (1980)). The statement must be reasonably understood to
   imply the allegedly defamatory content to sustain a claim for implied defamation. See
   CoreCivic, 2022 WL 3724307, at *7 (citing Price v. Stossel, 620 F.3d 992, 1003 (9th
   Cir. 2010)).

         The threshold question, then, is whether the statement at issue, in this case the
   tweets, can be reasonably “‘understood as implying the alleged defamatory content.’”
   Manzari, 830 F.3d at 889 (quoting Price, 620 F.3d at 1003).

           Plaintiff’s interpretation is that “[t]here is no way to read Ms. Knight’s tweets
   except as assertions that Mr. Bauer did fracture L.H.’s skull.” (Opp. to MTS at 20). In
   consideration of the factors set forth by the Ninth Circuit, the Court must conclude that
   this is not the case.

                       a. Tenor of the work

         “‘[T]he context of a statement may control whether words were understood in a
   defamatory sense.’” Herring, 8 F.4th at 1153 (quoting Koch v. Goldway, 817 F.2d
   507, 509 (9th Cir. 1987)). “The broad context ‘includes ‘the general tenor of the entire
   work, the subject of the statements, the setting, and the format of the work.’’” Id.
   (quoting Knievel, 393 F.3d at 1077).

         The largest context available to consider is the forum where the statements were
   made – here, Twitter. The parties appear to agree that Twitter generally contains both
   a mix of opinion and fact, and is relied on by reasonable people for a combination of
   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              26
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 27 of 33 Page ID #:1834


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   both. (See Opp. to MTS at 21, Reply to MTS at 19–20). The Court also agrees that
   “[b]ecause Twitter contains both opinion and news, it does not follow that statements
   on Twitter are presumptively opinion.” Unsworth v. Musk, CV 18-8048-SVW (JCx),
   2019 WL 4543110, at *5 (C.D. Cal. May 10, 2019) (footnote omitted). The wide-
   angle analysis of Twitter in and of itself therefore does not determine if the tweets were
   likely to be perceived as opinions or facts, and accordingly, the Court “focus[es] one
   level closer” to the more specific context of Defendant Knight’s Twitter account
   generally. Herring, 8 F.4th at 1157.

         There is some evidence that Defendant Knight’s Twitter account included
   statements of opinion generally, as illustrated by Defendants – for example,
   Defendants submit several other tweets by Defendant Knight putatively expressing her
   opinions. (See Palacios Decl. Exs. N–P). Exhibit N is reproduced as follows:




   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              27
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 28 of 33 Page ID #:1835


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   (Palacios Decl., Ex. N at 288).

         Exhibit O is reproduced as follows:




   (Palacios Decl. Ex. O at 292).

   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              28
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 29 of 33 Page ID #:1836


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
         The final Exhibit reads as follows:




   (Palacios Decl. Ex. P at 298).

          These tweets support that Defendant Knight’s Twitter account did not consist
   solely of factual reporting and often included statements of opinion. These tweets
   generally express Defendant Knight’s opinion concerning the effects of Plaintiff
   playing in a baseball game after the accusations set forth by L.H.

         The context of Defendant Knight’s Twitter account, at least in the limited time
   surrounding the tweet at issue in this litigation, appears to indicate that Defendant
   Knight sometimes expressed opinions on Twitter. However, there is no indication that
   Defendant Knight solely expressed opinion on her personal Twitter, and indeed was
   known for often sharing factual baseball news. (See, e.g., Opp. to MTS at 24).
   Overall, the Court finds the context to be neutral, because as with Twitter more
   generally, a variety of opinion and news was presented by Defendant Knight’s account.

         The Court therefore next considers the context of the three at-issue tweets
   themselves. The complete context of the Twitter thread in which the first Tweet was
   posted is reproduced as follows, for the sake of completeness, as the version
   accompanying the Complaint did not include the initial tweet of the thread:




   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              29
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 30 of 33 Page ID #:1837


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight




         (Palacios Decl. Ex. B at 1).

          The Court concludes that the context of the tweets themselves favors that a
   reasonable reader could conclude that the tweets implied an asserted fact—or, more
   precisely, relied on a fact as true: that L.H.’s skull was fractured, and therefore any
   consent given to rough sex was invalid as to L.H.’s actual injuries. The three tweets
   are premised on the baseline assumption that L.H. suffered a cracked skull, vitiating
   any consent given, even if that consent is evident from text messages. Each tweet
   relies on this premise in the context of the discussion concerning L.H.’s alleged
   injuries, as the tweets would be nonsensical without that foundational fact – if L.H.’s
   skull were not cracked, the issue of whether a person can consent to having their skull
   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              30
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 31 of 33 Page ID #:1838


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
   cracked skull would be irrelevant, unless meant as an example of conduct to which
   consent could not be given. That is not how the tweets would strike a reasonable
   reader.

         At the hearing, Defendant Knight reiterated the argument from the papers that
   the tweets should be read in the context of a heated public debate on the scope of
   consent, as evidenced by her language discussing consent and the rapid-fire nature of
   her posts. While it may be the case that the tweets were issued in the scope of this
   public discussion, that context does not detract from the plausible inference by a
   reasonable reader that Defendant Knight’s opinion in the context of any such debate
   was premised on L.H.’s skull actually being fractured.

         Taken in the broader context of Defendant Knight’s tweets and Twitter in
   general, this factor supports finding that the general tenor of the work gave the
   impression that Defendant Knight was asserting an objective fact. See Herring, 8 F.4th
   at 1157.

                       b. Specific language

          The next step of the analysis is to consider “‘the specific context and content of
   the statements, analyzing the extent of figurative or hyperbolic language used and the
   reasonable expectations of the audience in that particular situation.’” Id. at 1159
   (quoting Knievel, 393 F.3d at 1077). “‘[L]oose, figurative, or hyperbolic language . . .
   negate[s] the impression’ that the contested statement is an assertion of fact.” Id. at
   1160 (quoting Milkovich, 497 U.S. at 21 (1990)) (alterations in original). Further,
   where “the speaker fully discloses all relevant facts,” “[s]tatements are less likely to be
   expressions of fact,” and opinions based on facts fully disclosed are only punishable
   where the facts themselves are false. Id. at 1159 (citing Standing Comm. on Discipline
   of the U.S. Dist. Ct. for the Cent. Dist. of Cal. v. Yagman, 55 F.3 1430, 1439 (9th Cir.
   1995)).

         Defendant Knight argued at the hearing that the tweets should be viewed as
   opinion because of the language used, which included short, incomplete sentences,
   colloquialisms, and rhetorical devices.
   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              31
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 32 of 33 Page ID #:1839


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
          The Court must find here that the language used does not negate an impression
   of assertion of an objective fact. Cf. Herring, 8 F.4th at 1157. The language does not
   appear hyperbolic or sensationalized, instead asserting a direct and succinct statement:
   consent cannot be given to having a skull fractured. Cf. id., Glob. Telemedia Intern.,
   Inc. v. Doe 1, 132 F. Supp. 2d 1261, 1267 (C.D. Cal. Feb. 23, 2001) (hyperbolic
   language included statements like “This company has put it up your arse again this
   week,” “I got info comin at you that will make you puke about this stock”). The
   directness of the statements therefore weighs in favor of finding that the statements by
   implication asserted an objective fact. See Herring, 8 F.4th at 1157.

                       c. Provability

         The final consideration is whether facts implied by the statements at issue can be
   proven true or false. See id. at 1160 (citing Unelko, 912 F.2d at 1055).

           The underlying fact upon which the tweets are premised—that L.H.’s skull was
   broken—is very much provable as a binary: either her skull was cracked or it was not.
   While L.H. may have initially presented with signs of a cracked skull or basilar
   fracture, it appears that the CT scans demonstrated that her skull was not, in fact,
   cracked or fractured. (See Palacios Decl. Ex. E at 73 (“CT Head without Contrast /
   Status: Final result . . . FINDINGS: . . . Bones/joints: Unremarkable. No acute
   fracture”). The implied fact is therefore provable, and separately was proven,
   weighing against a finding that the statements did not assert an objective fact.

          In totality, the factors fail to “negate the impression that the statement[s] [are] an
   assertion of objective fact.” Herring, 8 F.4th at 1160. Though the context of the
   tweets is generally neutral, the lack of hyperbolic or sensational language and
   provability of the implied fact would allow a reasonable reader to interpret the
   statements as implying an objective fact. See id. at 1157 (citing Unelko, 912 F.2d at
   1053).

          Accordingly, the MTS is DENIED as to Plaintiff’s second claim for defamation
   per se.

   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              32
Case 2:22-cv-02062-MWF-AGR Document 45 Filed 12/05/22 Page 33 of 33 Page ID #:1840


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

   Case No. CV 22-2062-MWF (AGRx)                    Date: December 5, 2022
   Title:   Trevor Bauer v. The Athletic Media Co. & Molly Knight
          As set forth above, the MTS appears to largely challenge the legal sufficiency of
   the claim. The arguments as between the MTS and the MTD are functionally, if not
   actually, identical. (Compare MTS at 20–25 with MTD at 20–25). Accordingly,
   because Court analyzed the arguments in connection with the MTS under the standard
   of a motion to dismiss, the MTD is also DENIED as to Claim Two for the same
   reasons set forth above. See Planned Parenthood, 890 F.3d at 834 (motion to strike
   based on alleged deficiencies in pleadings should be treated as motion under Rule
   12(b)(6)) (citing Rogers, 57 F. Supp. 2d at 983).

         CONCLUSION

          The MTS is GRANTED with leave to amend as to Claim One and DENIED as
   to Claim Two. The MTD is DENIED as moot as to Claim One and DENIED as to
   Claim Two.

         Plaintiff must file any First Amended Complaint no later than January 6, 2023.
   Failure to file a First Amended Complaint by that date will be construed as election to
   stand on the current Complaint.

         IT IS SO ORDERED.




   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              33
